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Prob 12 (Rev. 11/1/2004)

                             United States District Court
                                                for the
                                   DISTRICT OF MINNESOTA
                              United States v. Michael James Deegan
                              Docket No. 0864 0:13CR00235-001(JRT)
                              Docket No. 0864 0:22CR00056-001(JRT)
                                   Petition on Supervised Release

        COMES NOW Jonathan R. Gourneau, U.S. PROBATION OFFICER OF THE
COURT, presenting an official report upon the conduct and attitude of Michael James Deegan
who was sentenced in Docket No. 0:13CR00235-001 for Possession of Unregistered Firearms on
April 3, 2014, by the Honorable John R. Tunheim, who fixed the period of supervision at 3 years
supervised release, and imposed the general terms and conditions theretofore adopted by the
Court and also imposed special conditions and terms as follows:

         x        No alcohol; not to enter establishment where alcohol is sold
         x        Participate in drug/alcohol treatment program
         x        Submit to searches
         x        No contact with victim(s)
         x        Employment required
         x        Financial disclosure
         x        No new credit
         x        No firearms or dangerous weapons
         x        Cooperate with child support officials
         x        Residential Re-entry Center (modified July 26, 2022)

Michael James Deegan was sentenced in Docket No. 0:22CR00056-001 for Escape From
Custody on August 3, 2021, by the Honorable Peter D. Welte, in the District of North Dakota,
who fixed the period of supervision at 3 years supervised release, and imposed the general terms
and conditions theretofore adopted by the Court and also imposed special conditions and terms
as follows:

         x    No alcohol: not to enter establishment where alcohol is sold
         x    Participate in drug/alcohol treatment program
         x    Submit to searches
         x    Residential reentry center
         x    Employment required
         x    Obtain Cognitive skills programming

On April 14, 2022, jurisdiction was transferred to the District of Minnesota and assigned to Your
Honor.

RESPECTFULLY PRESENTING PETITION FOR ACTION OF COURT FOR CAUSE AS
FOLLOWS:

         STANDARD CONDITION: The defendant shall refrain from excessive use of
         alcohol and shall not purchase, possess, use, distribute, or administer any
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Petition on Supervised Release                            RE: Michael James Deegan
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                                             Docket No. 0864 0:22CR00056-001(JRT)


       controlled substance or any paraphernalia related to any controlled substances,
       except as prescribed by a physician.

On August 5, 2022, Mr. Deegan reported to the residential re-entry facility with drug
paraphernalia, specifically a drug pipe which contained residue of a controlled substance. The
pipe was turned over to Fargo Police.

On August 5, 2022, Mr. Deegan submitted to a drug test which was confirmed by Alere
laboratory as positive for Fentanyl.

On August 8, 2022, the defendant submitted to a drug test which was positive for marijuana and
methamphetamine. These positive tests were confirmed by Alere laboratory on August 12, 2022.

       SPECIAL CONDITION: The defendant shall reside for a period of up to 120
       days in a residential reentry center as approved by the probation officer and shall
       observe the rules of that facility.

On August 5, 2022, Mr. Deegan reported to the residential re-entry facility as agreed by
modification of his conditions of supervised release. On August 15, 2022, Mr. Deegan
absconded from the facility without the permission of the facility or his supervising probation
officer.

PRAYING THAT THE COURT WILL ORDER that a warrant be issued and the defendant be
brought before the Court to show cause why supervision should not be revoked.

          [The rationale for a warrant is contained in Section 5 of the violation report.]

         ORDER OF THE COURT                              I declare under penalty of perjury that
                                                         the foregoing is true and correct.
                              18th
Considered and ordered this __________  day
of __________________,
      August, 2022        and  ordered filed             s/Jonathan R. Gourneau
and made a part of the records in the above              Jonathan R. Gourneau
case.                                                    Senior U.S. Probation Officer
                                                         Telephone: 218-210-6034
  s/John R. Tunheim
Honorable John R. Tunheim                                Executed on      August 17, 2022
U.S. District Judge
                                                         Place            Bemidji

                                                         Approved:

                                                         s/ Reginale B. Hall for Odell
                                                         Wilson
                                                         Odell Wilson III
                                                         Supervising U.S. Probation Officer
